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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
TAMMY KITZMILLER, et al.,

Case No. 04-CV-2688
(Hon. Judge Jones)

Plaintiffs,

Vv.

DOVER AREA SCHOOL DISTRICT and DEFENDANTS PROPOSED

DOVER AREA SCHOOL DISTRICT FINDINGS OF FACT

BOARD OF DIRECTORS, AND CONCLUSIONS OF
LAW

Defendants.

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PART NINE
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aware of other scientific theories (including but not limited to IDT).
FF 339,

c. She did not believe IDT should be taught because the teachers
objected. FF 426.

d. She believes that Creationism should never be taught. FF 576-578.

911. Heather Geesey cannot be said to have acted for religious reasons.

a. She did not come to the board with a religious agenda. FF 13-14,
558.

b. She went to Christian schools as a child and was taught Creationism
but she knew IDT was not Creationism, which is based on the Bible,
and thought it was good education to make students aware other
scientific theories including, but not limited to, IDT. FF 220-223,
428, 558, 579-83,

c. And the whole purpose of her letter to the editor was to make it clear
that DASD cooperated with families in the district by leaving
religious or philosophical issues to the family. FF 224-25,

d. She voted to delay the text purchase because she thought the Board

could reach consensus on the text issue. FF 301.

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€.

But she took it for granted, quite rightly, that DASD would purchase
the basal biology text recommended by the science faculty seeing the
vote in August was to link approval of that basal text (Biology by
Miller & Levine), with approval of a supplemental text (Of Pandas);
it was not a vote to approve Of Pandas as the basal text (this was
never an issue). FF 301, 308, 584.

She voted for the curriculum change because she thought it had a
valid educational goal but she did not want to force the teachers to
teach ID. FF 424, 422, 445, 459-61, 585.

She sends her children to DASD schools precisely because she wants

her children to receive a broader education, including exposure to ET.

FF 586.

912. The weight of the evidence does not support the claim that Alan Bonsell, a

board member since December of 2001, sought to effect a religious purpose.

a.

He came to the board without a religious agenda. FF 1-4, 9, 12, 17,
25, 33.

He believes he may have asked whether Creationism was addressed in

biology classes upon coming to the board, and he did meet with the

science faculty in the fall of 2003 to learn how they approached ET.

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~ At that meeting he learned that faculty taught ET and mentioned
Creationism; he also learned that faculty did not teach Creationism
because they believed it would be illegal; for his part, Bonsell was
happy that teachers did not teach that Creationism was wrong and did
not teach Creationism, which he believes is a matter for the family.
FF 43-47, 50, 74-81, 87-89.

c. Bonsell’s criticism of ET was scientific not religious in nature and he

never asked for any change to the curriculum or text related to
Creationism. FF 51-55, 87-89.

d. Bonsell’s interest in various subjects cannot become a surrogate for

unlawful action. Bonsell has expressed interest in a number of things
but has never initiated a move to require a change in the curriculum
or text, including the biology text or curriculum. FF 82-83, 86,
134—38, 149.

e. Moreover, Bonsell’s interest cannot be discounted out of hand as

unlawful. The notion that the very mention of Creationism was not
forbidden by law was reinforced by the information that Baksa

received at the seminar of Creationism and the Law sponsored by the

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Pennsylvania School Board Association and given by a presenter with
a law degree from Harvard. FF 56-66.

f. And teachers mentioned Creationism in their classes even though

Bonsell never made any move to require this. FF 598-609.

g. More importantly, Bonsell plainly discussed ID when discussing the

curriculum change contemplated—and ultimately enacted—by the
board. FF, 208, 214, 230-31, 236, 320, 427.

h. Just like Bonsell’s inaction, his actions plainly undermine any claim

of unlawful purpose. When Bill Buckingham tried to hold up the
purchase of the biology text recommended by the science teachers in
August, 2004, Bonsell voted against Buckingham’s motion because
he believed students should have the text recommended by the
science faculty regardless of whether Of Pandas was approved. FF
297, 299, 303-05.

1. Bonsell’s actions reveal that he sought to promote what he believed

was a legitimate educational goal in a way that also took into account
the views of the faculty and administration. FF 360-67, 395-97,

A03—415, 426-27.

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j.

On the night the Board approved the curriculum change at issue here,
Bonsell moved to add the “note” which ensured that IDT was not
taught in biology classes at DASD in an effort to address concerns
expressed by teachers. Bonsell’s motion was seconded by Jeff
Brown, who opposed the curriculum change and also did not want
IDT taught in the classroom; and it was approved unanimously by the
Board, including those members opposed to the curriculum change,
because it was understood to have that effect. FF 444-52.

Bonsell did not believe that ID was Creationism or religion, and he

believed the curriculum change was lawful. FF 561, 567-72.

Bonsell’s daughter will receive instruction in ET at Dover Schools.

FF 573.

913. The evidence is also insufficient to find even that Bill Buckingham acted to

effect a religious purpose.

a.

He was appointed to the board by reason of his stated interest in fiscal

responsibility not any religious agenda. FF 25-29.

Based upon his personal reading, he believed the biology text made
claims for ET far in advance of what had been demonstrated by
science and that the biology text recommended by the faculty was
poor in this regard. FF 184-97, 239-40.

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C, He wanted students to be aware of IDT, a scientific theory he

believed to be supported by numerous scientists. 239-40.

d. Indeed changes to the Miller and Levine text seemed to validate his
complaints. FF 274-76.

e. And he wanted approval of the basal text recommended by teachers
(Biology) to be linked to approval of the supplemental text (Of
Pandas) but he never intended to permanently delay purchase of the
texts recommended by the faculty; and he never intended to prevent

the teaching of ET. FF 309, 595.

f. And Buckingham wanted the supplemental text used in the

classroom, and he wanted the two theories taught side-by-side, to spur
debate and critical thinking. FF 281-83, 292,

g. But he relinquished those goals in light of teacher objections, settling

for the goal that the Board reached by consensus voting for the final
policy which 1s so far removed from his goals. FF 421.

h. He voted for the curriculum change because he believed making

students aware of ID was a legitimate educational goal, and he never

believed that ID was Creationism or religion. FF 234, 587-94, 596.

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Finally, the whole notion that the text selection process or curriculum
change were rigged to secure a religious goal is wholly undermined by the
role of Angie Yingling, a former board member.

a. In August, 2004, Yingling agreed to support Buckingham’s effort to

link approval of the basal text recommended by the science faculty
(Biology) with approval of the supplemental text (Of Pandas) but
later reversed her vote a few minutes later, voting (with Bonsell) to
approve purchase of the basal text and defer consideration of the
supplemental text, because of the reaction from the gallery and a
heated exchange by board members. FF 310-313.

b. — Nevertheless, she voted for the curriculum change approved by the

Board on October 18, 2004, not because she wanted a religious theory
taught in biology class, but because she felt she should support
Buckingham given her reversal in August. FF 562; Joit Stipulation

4.

c. There is no evidence that Yingling had any religious purpose at any

stage in these proceedings.

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In addition, both Nilsen and Baksa believed that the board had a legitimate
educational goal, not a religious purpose, when the board approved the
curriculum change.

a. At each step in the process Nilsen believed that the board had a

lawful goal and he took no steps to further an unlawful goal. FF 57-
58, 114, 117, 120, 149, 171-72, 228, 293, 320, 324-25, 429, 432-34,

452, 555-58, 560, 602, 610, 621, 624-28.

b. At each step in the process Baksa believed that the board had a lawful

goal and he took no steps to further an unlawful goal. FF 87-92,
119-20, 130-32, 199, 253-55, 262, 267, 394, 432, 472-75, 550, 552,
563-64, 600, 602, 610-11.

Finally, teachers contributed to the board’s belief that the board

contemplated a legitimate educational goal by agreeing to a number of the
steps board members saw as desirable educational goals. FF 259-61,
321--24, 403-08.

The teachers did differ with the board concerning whether ID was

Creationism and therefore whether ID could be taught consistent with the

law, and, in this regard, teachers expressed concerns with potential liability.

FF 320, 325.

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But the board differed with them on the legality of their course of action and

took measures designed to protect the teachers from any threat of lability.
FF 373, 471, 496, 502, 527.

The board continued to act in good faith even when teachers obstructed

implementation of the board’s policy out of recognition for the good faith
basis for the faculty’s expressed concerns. FF 479-80, 522-38.

The actual deliberative process employed by the Defendants belies the
Plaintiffs’ claim that a religiously motivated cabal ram-rodded the
curriculum change heedless of the science faculty or community.

a. While the Plaintiffs have alleged that neither the science faculty nor

Community Advisory Committee were consulted with respect to the
curriculum change, the evidence shows that this allegation is simply

untrue. FF 171, 385-87.

b. Moreover, the evidence shows that any disregard for the objections of

individual members of the public was driven by personal and political
animosity or the notion that individuals or entities (e.g. Discovery
Institute) were proceeding on the basis of in accurate information. FF

1-32, 151-55, 169, 218, 245-50, 481-92, 509, 534-536.

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921. Indeed the science faculty exerted a much more determinative impact on the

curriculum policy than any board member.

a.

Teachers were consulted with respect to Buckingham’s effort to

secure the teaching of IDT. Members of DASD’s Board Curriculum
Committee and the science faculty met throughout the Summer of
2004; science teachers reviewed materials regarding IDT provided by
Discovery Institute and agreed that ET, like any theory, had gaps and
problems. Teachers agreed to make students aware of gaps and
problems (the basal text mentions some gaps and problems precisely
because this is good science education), and that consensus became
part of the curriculum changes. FF 251-64, 281-99.

Ultimately the text requested by the teachers was approved and

purchased. FF 562; Joint Stipulation 15.

Buckingham’s also failed in his effort to ensure that the supplemental

text Of Pandas was given to students in the classroom and that ET

and IDT were taught side-by-side. The teachers opposed these goals,

 

The final result is that board deferred to the teachers and settled for

the more modest goal of making students aware of IDT and informing

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them that Of Pandas was in the library for their reference (if
interested). FF 510-16.

€. The statement was drafted to address faculty concerns about

implementation and the faculty was consulted in connection with this
process. FF 465-477.

f. In sum, teachers were also consulted extensively in connection with

the curriculum changes and the final result reflects, in large measure,
their input. These efforts to consult and reach a consensus belie any
claim that a faction of the board was bent on achieving a religious end
heedless of the concerns expressed by others,

922. Itis true that the Board did not agree with all the assertions and

recommendations of the science faculty—or the administration for that
matter. Of course, it is the Board’s right and duty to exercise its judgment
when adopting measures designed to serve the citizens of DASD. After all,
consultation designed to help Board members exercise their authority does
not require capitulation to science faculty at the High School or members of
the Curriculum Advisory Committee (which was also consulted with respect
to the curriculum change). Quite the contrary, the Board’s decision is

entitled to the great deference precisely because the Board is elected by

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citizens who entrust board members to serve the community to the best of
their ability.

Finally, the Court concludes that the curriculum change adopted by the
board on October 18, 2004, demonstrates that the board had a legitimate,
secular, educational, purpose. The curriculum change, now implemented,
has resulted in a four paragraph statement drafted prior to this litigation,
which references IDT twice, informs students that IDT is an explanation for
the origins of life that differs from ET, makes students aware of a
supplemental text, Of Pandas, and the existence of other texts addressing
ET and IDT, and prohibits the teaching of IDT, Creationism, or religion.
These results do not reflect a religious purpose; they do demonstrate that the
board had a legitimate secular educational purpose—to advance science
education. FF 610-629.

The Court also finds that the Defendants believed that IDT was a scientific

theory, not Creationism, when they enacted a curriculum change designed to
enhance science education based upon the knowledge board members
acquired through their personal efforts or board deliberations, FF 555-97.
The Court also believes that a review of the text shows the bona fide basis

for the judgment that [DT was a scientific theory, and DASD expressly

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prohibited the teaching of Creationism or religion in order to ensure
absolute compliance with the law. FF 883-98.

Thus, even 1f the Plaintiffs had proven that IDT was religion (which they

have not), this would not support their claim that Defendants’ primary
purpose was to advance religion because the Board’s actual purpose, based
upon the actual conclusion it derived from its deliberations, was to enhance
science education by making students aware of what they regarded as a
scientific theory.

This Court also rejects the Plaintiffs effort to establish that the Defendants’

primary purpose was to advance religion based on evidence concerning
statements allegedly going to the motives of individual board members.

The purpose of actions taken by public bodies must be determined with

 

reference to the collective resolutions and actions of the body, determined —
first and foremost by the actual language of the legislation or policy at
issue—the only true reflection of the actions of a public body. See
Edwards, 482 U.S. at 594 “The plain meaning of the statute’s words,
enlightened by their context and the contemporaneous legislative history,
can control the determination of legislative purpose.”). Mueller v. Allen,

463 US. 388, 394-95 (1983) (ascribing the Court’s disinclination to

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invalidate government practices under Lemon’s purpose prong to its
“reluctance to attribute unconstitutional motives to the States, particularly
when a plausible secular purpose for the State’s program may be discerned
from the face of the statute”); Board of Education v. Mergens, 496 U.S. 226,
249 (1990) (upholding statute against Establishment Clause challenge and
stating that “[b]ecause the Act on its face grants equal access to both secular
and religious speech, we think it clear that the Act’s purpose was not to
endorse or disapprove of religion”) (quotations and citation omitted). And
this Court’s inquiry into the Defendants’ purpose should be limited and
deferential. Edwards, 482 U.S. at 586.

The purpose of the public body cannot be proven with evidence about the

 

motives or goals of individuals with no legal authority, as individuals, to
bind or speak for the public body. See Board of Education v. Mergens, 496
U.S. 226, 249 (1990) (upholding the Equal Access Act against an
Establishment Clause challenge and stating that “even if some legislators
were motivated by a conviction that religious speech in particular was
valuable and worthy of protection, that alone would not invalidate the Act,
because what is relevant is the legislative purpose of the statute, not the

possibly religious motives of the legislators who enacted the law”); see also
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US. v. O'Brien, 391 U.S. 367, 383-84 (1968 )(refusing to invalidate
legislation based upon comments of individual legislator); Modrovich v.
Allegheny County, PA, 385 F.3d 397 (3" Cir. 2004)(refusing to invalidate
Ten Commandments display on grounds some legislators allegedly had
religious purpose supporting display).°

929. By reason of the findings made above, this Court concludes that the

collective purpose of the board, i.e. the purpose that is legally material, was
the wholly legitimate and secular purpose of enhancing science education.

a. Indeed, the Court finds that at critical points in this process, members

of the board and administration acted in ways which showed that they
were not governed by Buckingham. FF 548-54.

b. Under these circumstances, there is simply no adequate basis for this

Court to conclude that utterances by one board member, even if they
accurately reflect that individual board members purpose, can be used
to vitiate a policy that-as a matter of factual and legal necessity—had
to be approved by the board. It is the collective purpose of the board,

as reflected in the actual results of their deliberations, which must

 

“Defendants maintain that evidence of the religious beliefs, motives or purpose of individual board
members is not material or admissible but acknowledge at this stage of the proceedings the Court’s ruling on their
motion in limine to exclude such evidence.

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control this inquiry and, as this Court has found, that collective
purpose was a legitimate, secular, educational, purpose.

This also Court rejects the Plaintiffs effort to establish that the Defendants’

primary purpose was to advance religion based on evidence concerning the
motives, words, or deeds of third parties who were strangers to the board.
As a matter of law, the purpose of a public body cannot be proven with
evidence of the motives or purpose of third parties, whether scientists,

academics, editors, authors, or publishers, because-again—the purpose of

 

public bodies must be determined with reference to the collective purpose of
the public body. And, of course, Plaintiffs cannot prove that the Defendants
had an improper purpose based on rank speculation by political opponents
of the Board (even if Plaintiffs in this case), newspaper reporters, or other
third parties.

Moreover, even if such evidence could be used to prove the Defendants’

purpose, the Plaintiffs have failed to prove that the Defendants had a
religious purpose based on statements said to demonstrate an illicit motive
or goal on the part of these third parties who were strangers to board
members. Although the Plaintiffs focus a great deal of attention on

Discovery Institute’s “Wedge Strategy,” there is no evidence that the

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Defendants have never seen the so-called “Wedge Document” or discussed
the “Wedge Strategy” with anyone at any time. Although the Plaintiffs
focus on statements of Phillip Johnson, there is no evidence that the
Defendants do not know the man. Although the Plaintiffs focus on the
Foundation for Thought and Ethics (“FTE”) and statements made by Jon
Buell, there is no evidence that the Defendants ever spoke with Buell or
knew nothing about the origins, purpose, or mission of FTE. Although the
Plaintiffs are focused on prior drafts of the text Of Pandas, and the motives
or statements of its authors or editors, there is no evidence that the
Defendants had any knowledge of, or interest in, these statements, or for
that matter the motives, purpose, or metaphysical commitments of these
strangers.° FF 597.

The Plaintiffs Have Failed to Prove That the Primary Effect of DASD’s
Curriculum Change Is to Advance Religion.

The Court finds that the Plaintiffs have failed to prove that the primary

effect of the Defendants’ policy is to advance religion. FF 611~29.

 

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"Defendants maintain that evidence relating to the motives, statements, and activities of such third-parties

has no proper place in these proceedings but acknowledge at this stage this Court’s ruling on their motion in /imine
to exclude this evidence.

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The notion that a faction of the board was on a religious crusade to alter the
biology curriculum 1s also belied by the actual result of the deliberative
process. The primary effect of the curriculum change on science education
in the district is an informational statement which reads:

The Pennsylvania Academic Standards require students

to learn about Darwin’s Theory of Evolution and

eventually take a standardized test of which evolution is

a part.

Because Darwin’s Theory is a theory, it continues to be

tested as new evidence is discovered. The Theory is not

a fact. Gaps in the Theory exist for which there is no

evidence. A theory is defined as a well-tested

explanation that unifies a broad range of observations.

Intelligent Design is an explanation of the origin of life.

that differs from Darwin’s view. The reference book, Of

Pandas and People is available in the library along with

other resources for students who might be interested in

gaining an understanding of what Intelligent Design

actually involves.

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With respect to any theory, students are encouraged to

keep an open mind. The school leaves the discussion of

Origins of Life to individual families. As a Standards-

driven district, class instruction focuses upon preparing

students to achieve proficiency on Standards-based

assessment. FF 545-47.
The informational statement implementing the curriculum change simply
informs students that IDT is an explanation for the origins of life which
differs from ET, that Of Pandas is a book about IDT available in the library,
and that there are other books about ET and IDT in the library. The
statement does not describe the substance of claims advanced by IDT
theorists. Also, DASD prohibits the teaching of IDT, Creationism, or
religion. The Court concludes that these are the primary effects of the
curriculum policy adopted by the Board on October 18, 2004, as
implemented, and that these primary effects are not religious effects.
The Court finds that the challenged curriculum policy and implementing

statement plainly advance legitimate educational goals. FF 830-882.

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In this regard, the Court notes that although the Plaintiffs object to the
Defendants’ observation that ET has gaps and problems, the evidence shows
that ET does have gaps and problems. FF 784-827.

The Plaintiffs’ effort to prove that Defendants advance “religion” by

informing students about Of Pandas and other texts in the library fails as a
matter of law.

a. For one thing, DASD cannot be charged with individual decisions to

examine texts in the library for the same reasons that government
cannot be charged with establishing religion because individuals
exercising private choices use public vouchers to attend religious
schools. Cf Zelman v. Simmons-Harris, 536 U.S. 639,
(2002)(voucher program did not violate Establishment Clause even
though majority of students enrolled in religiously affiliated schools
where public funds flowed as a result of private choices); see also
Rosenberger v. University of Virginia, 515 U.S. 819, 842-44
(1995)(government does not advance religion by making facilities or
funds available to students which engage in religious activity).

b. Indeed, even if DASD could be charged with individual decisions to

conduct free inquiry, it 1s pure speculation to guess whether the effect

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of DASD’s reference to books in the library will advance—or
retard-IDT. DASD points students to Of Pandas and other resources
in the library addressing ET and IDT, at least three of which are
authored by Plaintiffs’ experts and critical of IDT. FF 543-47.

C. This is particularly true because DASD requires use of a basal text
addressing ET and provides classroom instruction in ET, but merely
alerts students to a supplemental text addressing IDT in the library
and allows no teaching of IDT in the classroom as recommended by
the science faculty. FF 545-47, 621 & Joint Stipulation 15.

d. The Plaintiffs likewise cannot prove that the primary effect of the
Defendants’ policy is to advance religion based upon drafts of the
texts wholly unknown to the Defendants or any student who might
examine the book. Seen in this light the Court finds that Of Pandas is
a science text that does provide educational benefit to students.

938. Indeed, the curriculum policy as implemented does not really advance ET in
any realistic sense.

a. The current statement informs students that there are other texts

addressing ET and IDT in the library, including six texts addressing

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IDT, three of those are authored by Plaintiffs’ experts in this case and
are critical of the IDT. FF 543-47.

b. And if a student goes to the computer terminal of the school library
and enters the term “Intelligent Design” that student will be directed
to a book by Plaintiffs’ expert Robert Pennock entitled /ntelligent
Design Creationism And Its Critics, a book critical of ID. FF 627.

C. These facts make clear that DASD’s curriculum policy does not
advance ID as such—it does advance science education by making
students aware of ID and pointing students to resources that are
for—but mostly against-ID.

Even if the policy could be said to “advance” IDT in any meaningful sense

the evidence shows, and the Court finds, that this does not amount to

advancing religion because IDT is—in fact—a scientific theory, not

Creationism and the statement provides truthful and accurate information

about ET.

a. Although Plaintiffs allege that IDT is a non-scientific argument that is
inherently religious, the evidence shows that IDT is a scientific

argument, advanced by scientist relying on evidence and technical

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knowledge proper to their specialties. FF 630-635, 665-744;
771-783.

b. Although the Plaintiffs claim that IDT 1s Creationism, the evidence
shows that IDT is not Creationism. FF 636-644; 745~783.

c. The evidence also shows that IDT's openness to the possibility of
causation which some might classify as “supernatural” (at least in
light of current knowledge) does not place IDT beyond the bounds of
"science." In truth, it is merely a philosophical commitment to so-
called methodological naturalism, adopted as a convention by the
bulk of the scientific community, which bars reference to the
possibility of supernatural causation (at least so far as current
knowledge regards phenomena as "super" natural). But the evidence
shows that this philosophical (nonscientific) commitment is in no way
an essential feature of scientific inquiry. FF 652-664.

d. This Court will not attempt to impose—as a matter of federal law—a
current convention of the scientific community because the evidence

_ shows that such a Procrustean effort to confine science within bounds
set by nothing greater than present-day convention is not science; but

it is bad philosophy of science. FF 645-664.

 

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The Plaintiffs’ effort to classify IDT as religion rests upon a
mischaracterization of the hypotheses actually advanced by IDT, which is
not a religious assertion and which, as a matter of science, leaves open
various possibilities concerning the source of design thought to be
evidenced by nature (which some might classify as natural, others
supernatural).

From this it follows, and this Court finds, that [DT is not religion as a matter
of law. See Grove v. Mead Sch. Dist., 753 F.2d 1528, 1537 (9" Cir. 1985)
(noting that while an expansive definition of religion “best serves free
exercise values, the same expansiveness in interpreting the establishment
clause 1s simply untenable”); United States v. Allen, 760 F.2d 447, 450-41
(2™ Cir. 1985) (recognizing that “all that is ‘arguably religious’ should be
considered religious in a free exercise analysis,” while “anything ‘arguably
non-religious’ should not be considered religious in applying the
establishment clause’) (quoting L. Tribe, American Constitutional Law 828
(1978)). Indeed, even if IDT were considered “junk science” (which it ts
not), such proof would not suffice to show that DASD’s curriculum change
has the purpose or effect of advancing religion because this would not prove

that IDT is religion.

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